              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                       Plaintiff,         )
                                          )
     vs.                                  )    No. 16-03039-01-CR-S-MDH
                                          )
EDUARDO DIAZ,                             )
                                          )
                       Defendant.         )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One contained in the Second

Superseding    Indictment    filed   on   September    28,     2016.     After

cautioning and examining the Defendant under oath concerning each

of the subjects mentioned in Rule 11, I determined that the guilty

plea was knowledgeable and voluntary, and that the offense charged

is supported by a factual basis for each of the essential elements

of the offense.    I therefore recommend that the plea of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date: August 8, 2017                            /s/ David P. Rush
                                          DAVID P. RUSH
                                          UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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